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 2    Northern District of California
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 4
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 7

 8    Counsel for Defendant GARCIA
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10                                   IN THE UNITED STATES DISTRICT COURT
11                             FOR THE NORTHERN DISTRICT OF CALIFORNIA
12                                            SAN JOSE DIVISION
13

14     UNITED STATES OF AMERICA,                              Case No.: CR 20-00247 LHK
15                      Plaintiff,                            STIPULATION AND PROPOSED
                                                              ORDER TO VACATE STATUS
16             v.                                             CONFERENCE AND TO EXCLUDE
                                                              TIME UNDER THE SPEEDY TRIAL
17     RAYMOND GARCIA,                                        ACT
18                      Defendant.
19

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21
            It is hereby stipulated by and between counsel for the United States and counsel for the
22
     defendant Raymond Garcia, that the Status Conference, currently set on January 5, 2022 should be
23
     vacated, and that this case should be continued for a Status Hearing on January 26, 2022, and that time
24
     be excluded under the Speedy Trial Act from January 5, 2022 through and including January 29, 2022.
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               The reason for this request is that the parties have learned that Defendant Garcia continues to
26    be in the custody of Santa Clara County, facing new criminal charges in that County. The parties are
27    continuing to investigate the circumstances of this arrest as its outcome is likely to have an impact on
28    this case. As such, the parties request that the court vacate the currently set Status Conference, and

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 1   further request that the court set a Status Hearing on January 26, 2022. The parties agree that time
 2   should be excluded under the Speedy Trial Act, until January 26, 2022, for the effective preparation

 3   of counsel, see 18 U.S.C. § 3161(h)(7)(B)(iv), so that the parties can investigate the pending state

 4   court charges, and so that defense counsel can consult with Defendant Garcia.

 5            The parties further stipulate and agree that the ends of justice served by excluding the time
     from January 5, 2022 through and including January 26, 2022, from computation under the Speedy
 6
     Trial Act outweigh the best interests of the public and the defendant in a speedy trial. 18 U.S.C. §
 7
     3161(h)(7)(A), (B)(iv).
 8
              The undersigned Assistant Federal Public Defender certifies that she has obtained approval
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     from counsel for the government to file this stipulation and proposed order.
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11          IT IS SO STIPULATED.
12                                                GEOFFREY HANSEN
                                                  Acting Federal Public Defender
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     Dated: December 30, 2021                     /s__________________________
14
                                                   Severa Keith
15                                                 Assistant Federal Public Defender

16                                                STEPHANIE HINDS
                                                  Acting United States Attorney
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     Dated: December 30, 2021                     /s_________________________
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                                                   Jeffrey Backhus
19                                                 Assistant United States Attorney

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 1

 2                                          [PROPOSED] ORDER
 3
            GOOD CAUSE APPEARING, upon stipulation of the parties, IT IS HEREBY ORDERED that
 4
     the Status Conference currently for January 5, 2022 shall be vacated and this matter shall be
 5
     continued to January 26, 2022, for a Status Conference.
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 7          THE COURT FINDS that failing to exclude the time from January 5, 2022 through and

 8   including January 26, 2022, would unreasonably deny the parties reasonable time necessary for

 9   effective preparation, taking into account the exercise of due diligence. See 18 U.S.C.
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     §3161(h)(7)(B)(iv), and that that the ends of justice served by excluding the time during this period,
11
     from computation under the Speedy Trial Act, outweigh the interests of the public and the defendant
12
     in a speedy trial.
13
            IT IS SO ORDERED.
14

15
     Dated: __________, 2022                     ___________________________________
16                                               THE HONORABLE LUCY H. KOH
                                                 United States District Judge
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